USDA                                         Unltod States Department ot Agricutture
                                            Animal and Plant HoaHh tnspec1ion Service                                      ~~·
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                                                   Inspection Report
Pamela Sellner
Tom Sellner                                                          Customer I0 : S143
Cricket HollOw Zoo                                                      Cortllicate· 42-C-0084
1512 210th Stree1
Manchester, lA 52057                                                           Slie· 001
                                                                                l(:lf.t l PAUQ..A SEU.HER


                                                                               Type· ROUTINE INSPECTION
                                                                               Date· May-2t-20t4

 2.40           (b)      (2)                        REPEA T    DIRECT NQ
 A TTENOING VETERINARIAN AND ADEOUATE VETERINARY CARE (DEALERS AND EXHIBITORS~

Ore female coycoe has a swalen digol on he< right ,.,... loot The area _ , . red and • - with a moist
abrasion lW1d .,..;ng hP. T h o · - lfMII           _....,.,eoy1 em ;n dia,.,.,.. The rinat occasionaly lifts up the
alii!Cied paw"""" She's standing ., place Tho licensee .,_INs onwnaJ was bit by the Olhot coyote on May t.
2014. The licensee Sl8!es no verennaNn has been conlaclld and no medioatiOO$ have been given.
Ore ollhe coati rrundl nas an -oximare 21noh by 21ncn patch of halr·loss at the base ol the tal (left-). The
sJOn does not appear red or swollen. The licenlee atatet no Yeterinalian has been QOnSt.lted about this c::ondition.

The capjbara a~otSthln. The hlp bone$ are prominent and the animal has scaly sl<ln with llllnnlrlg hwr on lhe back
half of the body with pa1ches of h8ir·loss around the base ol the tail and lhe badlbone. The icensee states this
animal is otd and no veterinarian has been consultOCI r~~gardlog thOSG cond•tiotls.

Failure to seek medical care tor the conditions fittOd ebove can 'Gad to unnecessary pain and discomfort for the
animals.

The animals listed above must be tlCOmlnedby o lloensedveuwlnarian BY 5:00PM ON MAY 23, 2014 in order to
ensure that an accurate diagnosis ls obtalnod and an 34)ptopriat& treatment plan Is developed and followed. This
inlormatioo. in~.Jding the dlsgnOiia, treatment and resolution ot the condition, must be documented and made
available lo the inspeo1or upon reqvesl.

One barbados wether ha-s elCcenively tong back hooves. The hooves are splayed and are curled up at the ends. The
licensoo statG~s ansnoep hoov&$ were trlmmod on Oocombor 27th, 2013.

EJCcessivety tong hooves can cause pain and diacomfort to t.he animals. Fur1hef, i1 may cause animals to alter their
stance ot their galt and crcato muscutoskokJtaJ ro&atod lssuos. This animal must havo tLs hoovos trimmod SY JUNE 4,
20141o remove the excessive growth The hooves must be maintained routinety in order to prevent and control
diseases and injuries.




                                             .
                                      HEJ...THER ('(1LE. V M 1=•
Pr01)ared By:
                       fATHER   ...    •V                 USDA.       S. Ani   at Care                      Date:
    Title:            VETERINARY MEDICAL OfflCER l""""'or 6026                                          May-21-2014

Received By:
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    TiUe:                                                                                               May-21-2014
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                                                  Inspection Report

3.1                  (C)     (3)
HOUSING FACiunES, GENERAL
Cleaning

Wlllw\ the wolf llybtld encloouro    -•Is   a bt.o~LP ol old I~ andlood was~e "''"" In"""' lho <htland gavel !hal
makes up me ttocw ~ tl'le endosure. There are three wolf hybrids in thll endolure. Failure to properly clean and
sanit•ze primary enc:lolures can lead to disease hazards for the animats. FIOOtl made of dirt, atiSOtbent bedding,
sand, gtavet. grass. or other slm•lat material must be raked ex spot-cleaned with sutrJCtent frequency to ensure all
animals the freedom to avoid contact with excreta. Contaminated material must be replaoed whenever this raking and
spot--cleanlno Is not aulliclent to ptevent Ot eliminate odors, insects, pests, or vermin lnleslalion.

To be COffOCIOd by: June 4, 20 14

3.25                 (C)
FACILITIES. GENERAL
Storage.

Within thG ·repble house~ thoro is a large containet of bedding. The licensee 111101 Lhl:s Is what was usod in the
guinea pig endolure. The oonlainer does not have a tight·fining lid There are two smaller hds s.itting on top of the
bedding Wlttwl the contaiftE!f. Thefe are flies. a moth and bwd feces on the ilnllde Mace 01 the oontaJner. This

lood and-~~~- be .,ored in               1--
SJOrage - " " " " noo .,.....lhe beddWlg St.W~Y"' prclotled lrom -
and inteslatJon 01 COfAminalion by vermin.
                                                      ~ely"""""           I UCII one!- conlaminaion. &opplos <II
                                                                               ll4)l)lies against Oj)Oilage or de<erioralioo


To be correctod by June • . 201<

3.30                                                          DIRECT NCI
WATeRING.
The wmer botdo In the enclosure housing lour guinea pigs was e~ry. The licensee stated she hact wateted the
animals the previous day. The bedding within the enclosure under lhe water bo111e end CW! the low end ~ the
enc:IO&Jra was damp. Tho liconsoo provided watet to the animals upon requost Whon gi11on frosh watQf', at teast one
animal drank vigorousty lor over a minute.

Co((ect9CI a t the time of lnsp9Ciion.

l ack ol dean wattf lor animals can cause dehydration aoo othef medical conditions.

The lioensee mu11 enture that pomble water is oHered to the animals u ohen 11 necessary to provide for their health
andcomlon.


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                                     HEATHER COLE V M: 1=1
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      Title:                                                                                       May·2t·2014
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                                                   Inspection Report

3.31                 (I)      (2)
SANITAT10N.
Cleaning ard .........., of pr'maly enclosures.

Nearty an ol1he becldw>g wolllln 111e oodclsure hoos01Q IOtK g<M1ea pogs was <tamp and sooiOO. One Inspector 10odled
1he bedding The bedding wa~ moi5t and du~ng.. The water boote •n the enclosure was empty.

Faiture to prO\Itle dean, dfy bedding can lead to heatth hazatds few !he an.maJa;.

lfl the event a l)llmary anclosuta becomes soiled or wet to a degree that might be hatmfiA or uncomlattabte to the
animals due to too.kago ot the watering system. spoiled pctlshablc foods. or moisture condensation, the bedding shall
be changed or tho gvinea pigs shall be transferred to a clean primary enololvre.

To be corrOCiod ~y: May 23.2014


3 .31                (~)
SANITATION.
,_.,...ng.
There ,. alatgo amoun1 of cMt. 6r1. -debris on 1he lloOf and w*-f sunounding lhe cnc:losure hotJsOlg ku
guWiea pigs. Fobe 10 dean 1he prenjses can lead 1 0 - hal1llds and can con..-10 <he deYelopmen1 ol pes1
breeding and living lreat. The preMISe$ mus1 be kepi dean in Older to ptOCec:lthe animalS 110M healll'l hazards, to
rectuoe or ...,.,. breecling ard IMng areas lor f)8S1S and 10 ladlilalt good husbondry praclaS.
To be correceed by; June 4, 20 14

3.75                 (C)     (3)                   REPEAT
HOUSING FACIUnES, GENERAL.
Cloonlng

ThroughOut thO "roptUo house·, th(lro Is an excessive amount of dust, dirt, and/Of' debris on tho floor surrounding thO
enclosures. The rulled lemur, the ring·taJied lemur and vervet are locoted lf'l t.hls area.

There is brown 10 black grime and cobwebs on the walls within the ru'lted lemur and rlng Lal~d ~mur enclosures.

Within the primalt building, there is a latga amount ot dust, ditt and/or debriS on the tloor surrouncing th& er'dosur&s.
AI of the primary onc:tosures. wlthln this building have a buJdo(Jp of dusl. dirt, dobr'ts, andlcw grime on the wire panels
thai mat«t 1.4) the prmary enolos.ure. There are objects (play house, tires. etc) wdhin the outside yards of al of these
enclool.wes1ha11\a110 a lhiO< bu*'"<Jp ol cluSO, d k l -


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                                                      Inspection Report
grime. These enctoeuros ..,...., two macaqi>OS and lour - . s




-·
One etldosuro OllfiiUWig two bush babies has a bUid1JI) ollood was10 anc11or Wnaf waste on lho Iocr ollho


Fa!Jore 10 CleM rinal hous>og areas, ir'oWding pM1ary etldosures. eon l6ad to health hazaros, pesiS and odots.

Hatd surfaces with wtllch non..tluman ptimat9$ come in oontad must be tpot·ct.aned daly and indOOt primary
enclosures must be sanltilod at least onoe every two weeks or moro olton If necessary to prevent an exoesslve
accumutation of din, dObfia, animal or food waste, or disease hazards.

II the species seem mark. the surfooes must be sanitized or replaced at regular intet'Vab as determined by the
attending vetorln.arian In acool'dance with generalty accepted p~ofeulonaland hvsbanclry practices.

All other surfaces within hOU$ing tacilities must be cleaned and sanllizod when neoeasary to satisfy generally
accepted husbandry atandards and praclicas.



3 .75               (e)
HOUSING FACIUTIES, GENERAL.
Storage.

WIIIW> lho retrlgeralor"' tho "repdo - - -·are"""""""" ol , , _ Tlwooghout a1 o1 ""' visible
conlllners, lho ~~- are heavly- The licensee llltes tills retrlgotolor 11 not ....,.,;og. There ;s a ruffed
lemur, a rng·tilled ....,...,., and a vetYeC 11'1 hs I)Oflion of the tacility. Within lhe r1Mgeta1101 .,.lt\e '"prlll'late bt.ilcing'"
lho<e a r e - movse dlopplogs, ditland'or dellris &n.og on lho -                            There are S<lpples ollrulls and
vegecabfes for the ptimates located in dlis refrigeratoc. FailUre to stOle food pt~ly can lead to animal ilkless. The
retngerators must be dNned and supplieos of food must be stated 1n a mnnner thll protects the supples from
spoilage, contamlno.!Son, and vermin Infestation. Food requiring refriOOratlon must be stored acoordlngly, and all tood
must be stored in a manner that prevents oontaminaDon and deterioration of rta nuttltive value.

To be cOtr8Ciod by· June •. 20 14

3.85                                                  REPEAT
EMPLOYE.ES.
The high number ot Seflous nollOI)n'lpliant items and repeated problems on the current inspection report
demonsu-a1e1 lh&tlhl work load at the tacility continues to exceed the current atatflng level.

An adequate number of appropriatety qualified and trained emptoyees il requlfed to ensure Chat al primates receive
neoes5a1Y eatl and thai lhe lacilrbH are maintained and cleaned on a regular and OOf"'Si&tent baSis.

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                                      HEATHER COLE V M: 1=1
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                                                Inspection Report

A su--             of Odequalely ITaJned emplo)<leS $hal be Uliizod 10 -!he~ ac:cepcable-
of huSbandry pqciiCOIWI lot1h W1 INs SOOpart. Such J)<aCI>CeS Sllal be . . . - a.._...., w11o has a ~nd on
animal care
3.125              (a)                          REPEAT
FACil iTIES, GENERAL

The vemcat guilla.lne "Yie dOOfS on enclosures andi<W' shelters fOf some ol the potenttally dangerous animals rely on
the weight ot the <lOOt to hold them in the do5ecf po$6on, aocordfng the lansoe. On some ol the enclosures there is
no tocklng mechMism or dovlco provootlng the dOOts from being lilted by the animals. whlcfl could result In escape or
injury. The licensee must evaluate all enclosiJle doors, in consutmnon with an appropriately qualified veterinarian or
other zootoglcoJ txpen If necessary, to ensure that they are designed In a mannet lhat pteventsthEI animals from
lifting or opening lhem.

There are several enclosures throughout the facility in need ol repair.

There is a n.tSted door leading into a shift area in one of the lion endolurea. One ol the solid metal gates on one ot
the bear enclosures It sovcrel)' rusted atlhe bOitom. In bOth enclosures, the rut! has orodod through the metal and
has created holeS ancvor gaps

The wal by the animal docw Wllhin lh& sorval cnc:losute haS a hOle In it exposing sovorely wom wood.

There i$ 1 MCiiion oe tenere on lhe Soi.Ah Side~ the camel endosure w.th 1 brc*en support at the top of the renee.



   ""'--·
This llroi<Ain ..._.. .. maloog lho fence bend In 1lle -    and IS LW\Sial>lo The lonco moved easily when one
" -ahool< • · The camel was obseNe<f preosing OQOinsllho fence, puslllng • OOAwards, In order 10 aooess a....,

""
There are sevetal plac• wtle.-e lhe cflajrHjnk fence within the endolu,. housing one Fallow deer and the enc;:loeure
I'IOust.ng two Me.shan pigs Is curted up at the bOttom. Th& curkld up edges how 5harp   po.nts that extend into the
enc:losures. and a gop Is ptesent at the bottom of the fence In some places.

Within thO sloth enciOlUro, lhofo a door that has been scratChed atld/or worn aod os a rosult. the surface ol the door
is peetlng,

These areas rue norln good repair and could lead to animal escape Of lnjuty.

These areas need to be repaired or replaced so they are structurally sound end shall be maintained in good repair to
protect the animals from Injury and to contain the animals.
3.125              (d)
FACiliTIES, G ENERAL
Waste disposal.

There are poles oflllomal and lood waste and'or old boddong Sdlong ou...,. of animo! enclosures

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                                   HEATHER COLE V M: 1=1
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                                                Inspection Report

ltv~ the taaloly. Some ot the pies are located neJCI to a n i m a l -. At oome ot the piles the licensee



lead
-
     10- Odors.--
01a101 ~ has . _ , 1h8re a tong bme·. There is a barrel ot irinal and lood- andiOt Cltd - ' I I silling cirectty
behind a loft endosuce The licensee stales this IS an Ok! bum barret FM.Jre 10 remcw. rinal and lood waste can
              and                         be made tor 1l1e- and cispcsal o t - and l o o d - bedding,
      an1ma1a. """' and dobrls.llisjlcl$alladli1;es s11a1 be so,....-                   as
                                                                         and_...., to .......,;ze . . . -
onlesratoon. OCIO<s. a n d - hazatds. The disposal lacllbeS and any Cllsposal ot 0111ma1 and lood wastes. bedding.
<lead animals, lrast'l, lnd debris shaA comply with applicable federal. Slate, and lOcal laws end regulations relating to
pollubon control or the ptatactaon or lhe envirooment.

To be conected by: June •, 20 1•

3.1 27              (b)
FACILITIES. OUTDOOR.
Shelter from Inclement wea.l.her.

There ts no Shotlor within tho outdoor onclosure housing two Pataoonian cavy. Falluro to provide a sheltor for an1ma1S
housed outdoors does ncN ensllfe they are protected from the elements. Natural or artificial $helter shall be provided
for all ani~la kept outdoors 10 afl or'd !hem protection and to prevel\1 dlsoomton to such animalS.

To be C008C1ed by May 28. 2014

3.127               (C)                          REPEAT
FACILITIES. OUTDOOR.
o.a._
Ttl«e are Iaroe areas ot s;tanding watat within ll'lliltlple endOSures. In most of the areas tho watcr has colec:ted undef
and around leaky automatic: waterer$. These locations are wi1hin the following enclowres: four-horned sheep, falow
deer, hon, and beor.

l"""oper dralnaoe wi1hin enclosures does not ens,ure a clean, (Jry environment for the animals. A $Uitable method
s.hall be ptovfded 10 rapidly eliminate e.x.oess water from within the enclosures..
3.1 27              (d)                          REPEAT
FACILITIES, OUTDOOR.
Perlmcrer tonce

Thor&" a gate on the ponlon ol the pcrlmotet fence sutrouncl ng th& big cats that has bocomo dotachod from the
fence post. The gare i& leaning OU1 from the fence and siuing Cf'O()I(.ed which createt a large gap between the gate
and the tenet. Thil teooe il not in good repair and does not eHec::ttvely reittfCI animals and unauthorized persons
trom OC*'IQ through 11 The perlme:er fence needs to be repaired or reptacecl in Older 10 elteclNety prevent arWnats
and people 11om goong th!ough • 0< I.W1dor o and haW>g contact ..;111

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                                     HEATHER COLE V M: •=1
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lhe anomals "' the toci~1y.

Them areiWO C08Ii munclsln one enctosurelhal"' SoJbl>!l neXI 10 a poo1lon ot poromotor tence. The prtnary endosure
is tess 1hln 1lwee teellrcm lhe per.meter tence. n mus1 be ot sutficient '"""'""' (3 teet"' more} 1rcm 111e outside ot
!he primafy endolure I> ptevete physical c:ontac:t between anmaJs •nsidl "'- ~• and animats or persons
ClUISide ot ""' perlmete< tenc».

Perimeter tenoes ca.nnoc be less than 3 teet W'l distance frcwn ll'le primary trdosure unless wt•Uen approval iS granted
by the APHIS AdmlnlstraiOr. The facility does not currently have this awrovat. It lhe facility wishes to p!Nsue this
approval, they must aubmi1 a request in writing to 2150 Centre Avenue Bid B MS 3W11, Fort Collins, CO 80526.

3.130                                              REPEAT       DIRECT NCI
WATt: RING.

The water bonto In the enclosure housing ten degus was empry. The tioonsoe &HUed she had watered the animals the
previous day. The licensee prOVided water to the animal$ upon request. When given lfMh water, the animals
ctOWdOd around the wn!or bottto and draM Vigorously lot w911 over a minute. Tho animals g.athorod around the wa1er
bottle In a hght group after i1 was added to the enclosure. Some ot the animals vocaliZed while waiting to ctrink. One
of the targif degua was obser...ed pulling the watec bottle towards itsetl, out ol tha mout.h ot anothec animal, in order
10 dllnlc.

The waret wlthan one c:oy<Me endosure was green and 1\ad debris sitt.ng on the bottom.

The watet wilhin Cht enclosure housing two pc::wtl4lines was brown and hed debril and'or feces mixed widl the waK!f.

The OOfbols In lh8 "lOI>CJIO
and debris.
                               -·had no wa:er at 1he lime ot lhelnspectJOI\; lh8 bowl was._ wilh moisl ~
Lack of dean wattlf for animals c::an c::ause dlirst. dehydration and other medicet c::ondiCIOflS

The licensee must enaure that potabM water Is offered to the animals as often as necessary lO provide for thelf health
and c::omtor1.



3.131               (0)                            REPEAT
SANITATION.

Cleaning of enclosures

There are several enclosures throughout the cotire facilily thai have a bulld·up ol kMxl wasto and/or arwnaJ waste
within the endolure and.'Of with.n the shelter for the enclosure. The tollowlng an.mats were in the affected
enctosur.s: Two Ieneta.. four ldnUpus \repb:le house" and '"educ::ation center1, UK'I ~s. three polbely pigs, five
bgel$. one bot>Ca1. IWO lions. IWO be;n. one~ IWO Afllcan CfGS10d

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                                                  Inspection Report

potQJplnes. three Cllincholas and one sloth. In some of the areas the buo!G-..p Is ve<y 1hicl< and IS mi<ed in with the
- . g 01 11oot IUbllraoe. tn some of these -fions !hero iS an odor and the was1e ;s anracong lies.
On the wdl- the i<lrl<ajou en<losure in lhe "repcile house', the COlli ""ndi -            .. and the c:apybata en<1osure,
there iS a buold-up o1 - • • bfOwn Qlin1e.
Within boch c:oyoce enclosures there is a build-14t of dust and din on the objects wt#'lin the enclosures {kongs. $heltet,
etc). There are large numbets ~ old chldc.en bones scattered ltlrougl\out and 1round bolh enclOSures. There are two
ooyotcs In those tnc:losures.

Failure to clean animal ooclosures can load to health hazards, pests and odors. Primary onclosufas shall be deaned
and excreta shall be removed in order to prevent oontamina6on of tho animals contained thetein and to minimize
disease hazards, posts and Odors.



3.131                {C)                          REPEAT
SANITATIOM.
Housel<efllllng.
Wi!IW1 the 'rep<,.. house' and "oducatlon cent.,.. the<e os a latge ._.,, o1 cliSl. dlrl. an<t!O< debris on the 11o0<s and



                                         to-
walkways surrounding the endo5ura. Two ferrets. one setYal, two coati muncli. one capybara. two poi'Q4lines, two
klnkajout.. two foxes end lhree c:hinc:f'l&aS are located in lhese areas.

Failonoo cloon the premises can lead            hazaiOs and can comibuleiO lht """~of pes1 bleeding and
IMng ateas. Tho pr..,_ must be 1oapt dean in onle< 10 protect lho .,.mall lrom htollll hazatdS. 10 ..ruce 01
etimlnrue b<eeclng aoo bvlng areas lor peslS and 10 faclltate good huoiXttldry praciJCeS.



3.131                (d)                          REPEAT
SANITATION.
Pest controL

Thor& ar& an O)(cosslvo numbor ol fllos are ptesent throughout thO ontlro ladUty. Thoro aro fliers within the endosuro
housing two lerTets In the "reptile house•, the enclosure housing two kink.aloua in the ·education center", one of the
ou1door tiger el"'dooures and around the bear shetlers. Files can be seen landing on the animals, bedding, food and
animal waste

The1e ts a build-1.4) ot bird leoes on the bObCat -Shelter and on objects (roc:b) within the OU1d001' potlion of the skunk
enclosure.


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                                     HEA THER COLE V M: 1=1
Prepa~         By:
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     Title:                                                                                        May·21·2014

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USDA                                    United States Oepartmen1 of Agricuhure
                                       Animal and Plan1 Hearth Inspection Setvtce                                 ~~·

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                                                Inspection Report

The pr.....,., of pos~s can leod to health hazatds 1o< the anmats A sale and e1tecbYe program for the"""""' of
po$1$,irduding Nios. -     · spde<s a n d - must b e - and ,.....aoned.
3.132                                           REPEAT
EMPLOYEES.
 The high ....,.,.,. oi..,<Jusl'oOflOOfTllllit items, itQ.dng direas and repeated problems. on the current inspectioo
report demonstnlles that me work load at the facifity continues: to exceed lhe current II&Hing k!vel.

An adequate number o4 BPPfopriatefy qualified and trained employees is requ.red to ensure thru aJ the animals
receive neoessary crue and thai the facilitieS are maintained and deaned on a regular and consistent basis.

A sufficient number of adequately IJained employees shaft be utilized to maintain the professionally accel)(able level
of husbandry procUoes set fOtth in this subpar1. Such practices shall be undGt n supervisor who has a baCkground in
animal core.




Reoonls noc lnSI*IOd at this limo

tnspeciJOn and exll btoeling condUctod wolh the cwne~.




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